Case 2:20-cr-00516-FMO Document 48 Filed 12/18/20 Page1of1 Page ID #:337

 

FILED
CLERK, U.S. DISTRICT COURT

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

CR 20-516-FMO
UNITED STATES OF AMERICA

Plaintiff(s)

 

ORDER ON
CHRISTOPHER BEASLEY APPLICATION FOR WRIT OF HABEAS CORPUS

 

Defendant(s). =] AD PROSEQUENDUM OAD TESTIFICANDUM

 

The Court hereby ORDERS the Application for Writ of Habeas Corpus submitted herewith be GRANTED and that a

Writ of Habeas Corpus © Ad Prosequendum © Ad Testificandum be issued to secure the appearance of:

Name of Detainee: _CHRISTOPHER BEASLEY

Alias:

 

on JANUARY 26, 2021 at 1:00 P.M. before Judge/Magistrate Judge _ DUTY MAGISTRATE
(Date of Appearance) (Time)

 
  

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Dated: {2-1\G72029 (Roqetls. DR. QGd % { 4
US. District dudge/U.S. Magistrate Judge eS

 

G-09 ORDER (10/06) © ORDER ON APPLICATION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM/AD TESTIFICANDUM
